               Case 2:18-cr-00055-KJM Document 77 Filed 09/21/20 Page 1 of 5


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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:18-CR-0055-KJM
12                                 Plaintiff,             STIPULATION REGARDING USE OF
                                                          VIDEOCONFERENCING DURING CHANGE OF
13                           v.                           PLEA HEARING; FINDINGS AND ORDER
14   THOMAS WAYNE CAPENHURST,                             DATE: September 21, 2020
                                                          TIME: 9:00 a.m.
15                                 Defendant.             COURT: Hon. Kimberly J. Mueller
16

17                                                BACKGROUND

18          The parties entered into a plea agreement in this matter. A change of plea hearing is scheduled

19 for September 21, 2020.

20          On March 27, 2020, Congress passed the Coronavirus Aid, Relief, and Economic Security Act

21 (“CARES Act”). The CARES Act empowered the Judicial Conference of the United States and Chief

22 District Judges to authorize plea and sentencing hearings by video or telephonic conference when 1)

23 such hearings “cannot be conducted in person without seriously jeopardizing public health and safety;”

24 and 2) “the district judge in a particular case finds for specific reasons that the plea or sentencing in that

25 case cannot be further delayed without serious harm to the interests of justice.” Id., Pub. L. 116-23

26 § 15002(b)(2).

27          On March 29, 2020, the Judicial Conference of the United States made the findings required by

28 the CARES Act, concluding that “emergency conditions due to the national emergency declared by the

       STIPULATION REGARDING HEARING                       1
                 Case 2:18-cr-00055-KJM Document 77 Filed 09/21/20 Page 2 of 5


 1 President under the National Emergencies Act (50 U.S.C. § 1601, et seq.) with respect to the

 2 Coronavirus Disease 2019 (COVID-19) have materially affected and will materially affect the

 3 functioning of the federal courts generally.”

 4          On June 29, 2020, the Chief Judge of this District, per General Order 620, also made the findings

 5 required by the CARES Act: “[F]elony pleas under Rule 11 of the Federal Rules of Criminal Procedure

 6 and felony sentencings under Rule 32 of the Federal Rules of Criminal Procedure cannot be conducted

 7 in person without seriously jeopardizing public health and safety.” Accordingly, the findings of the

 8 Judicial Conference and General Order 620 establish that plea and sentencing hearings cannot take

 9 safely take place in person.

10          In order to authorize plea hearings by remote means, however, the CARES Act—as implemented

11 by General Order 620—also requires district courts in individual cases to “find, for specific reasons, that

12 felony pleas or sentencings in those cases cannot be further delayed without serious harm to the interests

13 of justice.” General Order 620 further requires that the defendant consent to remote proceedings.

14 Finally, the remote proceeding must be conducted by videoconference unless “videoconferencing is not

15 reasonably available.” In such cases, district courts may conduct hearings by teleconference.

16          The parties hereby stipulate and agree that each of the requirements of the CARES Act and

17 General Order 620 have been satisfied in this case. They request that the Court enter an order making

18 the specific findings required by the CARES Act and General Order 620. Specifically, for the reasons

19 further set forth below, the parties agree that:

20          1)      The plea hearing in this case cannot be further delayed without serious harm to the

21 interest of justice, given the public health restrictions on physical contact and court closures existing in

22 the Eastern District of California and the interest in the defendant in resolving his case; and

23          2)      The defendant waives his physical presence at the hearing and consents to remote hearing

24 by videoconference and counsel joins in that waiver.

25                                                 STIPULATION

26          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

27 through defendant’s counsel of record, hereby stipulate as follows:

28          1.      The Governor of the State of California declared a Proclamation of a State of Emergency

       STIPULATION REGARDING HEARING                      2
                 Case 2:18-cr-00055-KJM Document 77 Filed 09/21/20 Page 3 of 5


 1 to exist in California on March 4, 2020.

 2          2.      On March 13, 2020, the President of the United States issued a proclamation declaring a

 3 National Emergency in response to the COVID-19 pandemic.

 4          3.      In their continuing guidance, the Centers for Disease Control and Prevention (CDC) and

 5 other public health authorities have suggested the public avoid social gatherings in groups of more than

 6 10 people and practice physical distancing (within about six feet) between individuals to potentially

 7 slow the spread of COVID-19. The virus is thought to spread mainly from person-to-person contact,

 8 and no vaccine currently exists.

 9          4.      These social distancing guidelines – which are essential to combatting the virus – are

10 generally not compatible with holding in-person court hearings.

11          5.      On March 17, 2020, this Court issued General Order 611, noting the President and

12 Governor of California’s emergency declarations and CDC guidance, and indicating that public health

13 authorities within the Eastern District had taken measures to limit the size of gatherings and practice

14 social distancing. The Order suspended all jury trials in the Eastern District of California scheduled to

15 commence before May 1, 2020.

16          6.      On March 18, 2020, General Order 612 issued. The Order closed each of the courthouses

17 in the Eastern District of California to the public. It further authorized assigned district court judges to

18 continue criminal matters after May 1, 2020 and excluded time under the Speedy Trial Act. General

19 Order 612 incorporated General Order 611’s findings regarding the health dangers posed by the

20 pandemic.

21          7.      On April 16, 2020, the Judicial Council of the Ninth Circuit declared a judicial

22 emergency in this District pursuant to 18 U.S.C. § 3174(d), based on the District’s “critically low

23 resources across its heavy caseload.” The report accompanying the Judicial Council’s declaration

24 analyzed the public safety dangers associated with the COVID-19 pandemic and examined both the

25 District’s caseload (the District currently ranks first in the Ninth Circuit and eighth nationally in

26 weighted filings) and its shortage of judicial resources (the District is currently authorized only six

27 district judges; two of those positions are currently vacant and without nominations). The report further

28 explained that a backlog of cases exists that “can only start to be alleviated” when the CDC lifts its

       STIPULATION REGARDING HEARING                      3
                 Case 2:18-cr-00055-KJM Document 77 Filed 09/21/20 Page 4 of 5


 1 guidance regarding gatherings of individuals.

 2          8.      On April 17, 2020, General Order 617 issued, continuing court closures through June 1,

 3 2020 and authorizing further continuances of hearings and exclusions under the Speedy Trial Act.

 4          9.      On May 13, 2020, General Order 618 issued, continuing court closures until further

 5 notice and authorizing further continuances of hearings and exclusions under the Speedy Trial Act.

 6          10.     Given these facts, it is essential that Judges in this District resolve as many matters as

 7 possible via videoconference and teleconference during the COVID-19 pandemic. By holding these

 8 hearings now, this District will be in a better position to work through the backlog of criminal and civil

 9 matters once in-person hearings resume.

10          11.     The plea hearing in this case accordingly cannot be further delayed without serious harm

11 to the interests of justice. If the Court were to delay this hearing until it can be held in-person, it would

12 only add to the enormous backlog of criminal and civil matters facing this Court, and every Judge in this

13 District, when normal operations resume.

14          12.     Under CARES Act § 15002(b), defendant consents to proceed with this hearing by video-

15 teleconference. Counsel joins in this consent.

16          IT IS SO STIPULATED.

17

18
      Dated: September 16, 2020                               MCGREGOR W. SCOTT
19                                                            United States Attorney
20
                                                              /s/ ROSS PEARSON
21                                                            ROSS PEARSON
                                                              Assistant United States Attorney
22

23
      Dated: September 17, 2020                               /s/ TIM PORI
24                                                            TIM PORI
25                                                            Counsel for Defendant
                                                              THOMAS WAYNE
26                                                            CAPENHURST
                                                              (Authorized by email on
27                                                            September 17, 2020)
28

       STIPULATION REGARDING HEARING                      4
                Case 2:18-cr-00055-KJM Document 77 Filed 09/21/20 Page 5 of 5


 1                                         FINDINGS AND ORDER

 2         1.      The Court adopts the findings above.

 3         2.      Further, the Court specifically finds that:

 4                 a)      The plea hearing in this case cannot be further delayed without serious harm to

 5         the interest of justice; and

 6                 b)      The defendant has waived [his/her] physical presence at the hearing and consents

 7         to remote hearing by videoconference.

 8         3.      Therefore, based on the findings above, and under the Court’s authority under § 15002(b)

 9 of the CARES Act and General Order 620, the plea hearing in this case will be conducted by

10 videoconference.

11         IT IS SO FOUND AND ORDERED this 18th day of September, 2020.

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